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       JOAN JACOBS LEVIE, #179787
 1   LAW OFFICES OF JOAN JACOBS LEVIE
       2014 TULARE STREET, SUITE 528
 2       FRESNO, CALIFORNIA 93721
        TELEPHONE: (559) 498-8155
 3       FACSIMILE: (559) 498-8165

 4   Attorney for Defendant, Gloria Radford

 5

 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
      UNITED STATES OF AMERICA                        )       CASE NO. CR-F-07-00254 LJO
10
                                                      )
      Plaintiff,                                      )
11
                                                      )       STIPULATION TO CONTINUE
      vs.                                             )       SENTENCING HEARING; ORDER
12
                                                      )
      GLORIA RADFORD                                  )       SCHED. DATE: November 14, 2008
                                                      )
13                                                            REQST. DATE: November 21, 2008
      Defendant.                                      )
                                                              TIME:         9:00 A.M.
14
                                                              COURT: The Hon. Lawrence J. O’Neill
15
            IT IS HEREBY STIPULATED between the parties, by and through counsel for the
16
     government, Kimberly Sanchez, and Joan Jacobs Levie, counsel for Defendant GLORIA RADFORD,
17
     that the date established for the sentencing hearing, currently scheduled for November 14, 2008 at 9:00
18

19   a.m. in the courtroom of the Hon. Lawrence J. O’Neill be continued until November 21, 2008 at 9:00

20   a.m. in the courtroom of the Hon. Lawrence J. O’Neill. The reason for this request is that defense
21
     counsel will be attending the Eastern District Conference in Napa and will be travelling with others at
22
     that date and time.
23
            Additionally, counsel has not yet had an opportunity to review the presentence report with Ms.
24

25   Radford. Counsel waited at the jail for thirty minutes and left without seeing the client due to

26   scheduling conflicts. Counsel must review the presentence report personally, as Ms. Radford does not
27
     read, after which counsel must prepare and file a sentencing memorandum.
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            DATED: October 28, 2008
 1

 2                                                Respectfully submitted,

 3                                                /S/ Joan Jacobs Levie___
                                                  JOAN JACOBS LEVIE
 4
                                                  Attorney for Defendant,
 5                                                GLORIA RADFORD

 6
                                                  /S/ Kimberly Sanchez
 7                                                KIMBERLY SANCHEZ
                                                  Assistant U.S. Attorney
 8

 9                                              *****
10
                                                   ORDER
11
     Having read the stipulation of counsel and finding good cause,
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            IT IS HEREBY ORDERED that the date of the sentencing proceedings will be continued in
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14   accordance with the above stipulation of counsel. The defendant is ordered to return to court for

15   further proceedings on November 21, 2008 at 9:00am.
16
     DATED: October 28, 2008
17
                                           By: __/s/ Lawrence J. O’Neill____
18                                                LAWRENCE J. O’NEILL
                                                  Judge of the United States District Court
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